                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF W ISCONSIN

____________________________________________

UNITED STATES OF AMERICA,

                   Petitioner,

             v.                                           Case No. 06-CR-278

JULIUS ARBERRY, et al.,

               Respondent.
____________________________________________

                                      ORDER

      On March 27, 2007, Magistrate Judge Patricia Gorence issued an order

adjudicating the non-dispositive pretrial motions filed by various defendants in the

case. Thereafter, on April 25, 2007, Magistrate Gorence issued a recommendation

that the motion to suppress evidence filed by defendant Julius Arberry be denied.

No defendant filed timely objections to either the order or recommendation filed by

Magistrate Gorence, and pursuant to Local Rule 72.3 and 28 U.S.C. § 636(b)(1), the

court will adopt Magistrate Gorence’s order and recommendation in their entirety.

See also United States v. Edwards, 894 F. Supp. 340, 341 (E.D. W is. 1995) (holding

that in the absence of timely filed objections to the magistrate’s recommendation and

order, a de novo review of issues is not required).

      Additionally, to ensure both the orderly and timely adjudication of this

multi-defendant case, the court now directs that counsel for the government confer

with counsel for each defendant, and, thereafter, file not later than June 1, 2007, a



      Case 2:06-cr-00278-JPS     Filed 05/23/07   Page 1 of 2   Document 243
written status report addressing the likelihood of each defendant resolving his or her

case short of trial. Upon receipt of such report, the court will schedule such further

proceedings as may be necessary.

      Accordingly,

      IT IS ORDERED that Magistrate Judge Patricia Gorence’s Order [Docket

# 225] be and the same is hereby ADOPTED;

      IT IS FURTHER ORDERED that Magistrate Judge Patricia Gorence's

Recommendation [Docket # 230] be and the same is hereby ADOPTED;

      IT IS FURTHER ORDERED that Julius Arberry’s motion to suppress [Docket

# 153] be and the same is hereby DENIED; and

      IT IS FURTHER ORDERED that on or before June 1, 2007, the government,

in consultation with each defendant’s attorney, is to file a detailed status report

indicating the likelihood of trial for each defendant.

      Dated at Milwaukee, Wisconsin this 23rd            day of May, 2007.

                                                BY THE COURT:

                                                 s/ J. P. Stadtmueller
                                                J. P. Stadtmueller
                                                U.S. District Judge




                                          -2-


      Case 2:06-cr-00278-JPS      Filed 05/23/07    Page 2 of 2    Document 243
